        Case 2:15-cv-00506-RDP Document 302 Filed 05/16/24 Page 1 of 2                              FILED
                                                                                           2024 May-16 AM 10:41
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

DRUMMOND COMPANY, INC. et al.,                }
                                              }
       Plaintiffs,                            }
                                              }
v.                                            }        Case No.: 2:11-cv-3695-RDP
                                              }
TERRENCE P. COLLINGSWORTH,                    }
et al.,                                       }
                                              }
       Defendants.                            }




 DRUMMOND COMPANY, INC., et al.,
                               }
                               }
      Plaintiffs,              }
                               }
 v.                            }                        Case No.: 2:15-cv-506-RDP
                               }
 TERRENCE P. COLLINGSWORTH, et }
 al.,                          }
                               }
      Defendants.              }


                                           ORDER

       This matter is before the court on Drummond’s Motion to Exclude Jaime Blanco Maya’s

Testimony. (Case No.: 2:11-cv-3695-RDP, Doc. # 785; Case No.: 2:15-cv-506-RDP, Doc. # 289).

In response to the Motion, Defendants contend that the Motion is moot and/or premature in light

of the court’s recent Order granting Defendants’ Motion to Extend Dispositive Motion Deadline.

(Case No.: 2:11-cv-3695-RDP, Doc. # 799; Case No.: 2:15-cv-506-RDP, Doc. # 301). In the Order

on Defendants’ Motion to Extend Dispositive Motion Deadline, the court noted that, “unless Jaime

Blanco Maya’s deposition is COMPLETED (i.e. Drummond is able to cross-examine him with
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regard to his recent letters rogatory deposition) [on or before May 31, 2024] Blanco’s testimony

SHALL NOT be used in relation to dispositive motions.” (Case No.: 2:11-cv-3695-RDP, Doc. #

798; Case No.: 2:15-cv-506-RDP, Doc. # 300). Thus, the court has already set the boundaries

under which Blanco’s testimony may be used in relation to the soon-to-be filed dispositive

motions.

       There is much to be litigated between now and a time this court will again be called upon

to rule on the admissibility of witnesses’ testimony for other purposes. Circumstances may change

during that time. Therefore, the court agrees that the best course of action is to deny without

prejudice the pending Motion to exclude Blanco’s testimony for purposes other than dispositive

motions.

       Therefore, the Motion to Exclude Jaime Blanco Maya’s Testimony. (Case No.: 2:11-cv-

3695-RDP, Doc. # 785; Case No.: 2:15-cv-506-RDP, Doc. # 289) is DENIED WITHOUT

PREJUDICE to being refiled, if appropriate, at a later date.

       DONE and ORDERED this May 16, 2024.



                                            _________________________________
                                            R. DAVID PROCTOR
                                            CHIEF U.S. DISTRICT JUDGE




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